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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
UNITED STATES OF AMERICA,

             v.
                                           Cr. No. 19-10075-MLW
RUDOLPH MEREDITH,
     Defendant.
                                      ORDER
WOLF, D.J.                                                          March 27, 2019
      It is hereby ORDERED that defendant Rudolph Meredith shall,

by 9:30 a.m. on March 28, 2019, report whether with regard to the

government's      submission     concerning       the        applicable   law     and

statement of facts relating to his proposed guilty plea (Docket

No.   18),   he   disputes     the    correctness       of    the    proposed     jury

instructions or the accuracy of the alleged facts.                    If defendant

contends that the proposed jury instructions are incorrect, he

shall submit an alternative version with supporting authority.                      If

defendant    asserts    that    the    proposed     statement        of   facts     is

inaccurate, he ~hall request corrections.



                                              UNITED STATES DISTRICT JUDGE
